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    1
        Mark S. Lee (SBN 94103)
    2   mark.lee@rimonlaw.com
        RIMON, P.C.
    3   2029 Century Park East, Suite 400N
        Los Angeles, California 90067
    4   Telephone: 213.375.3811
        Facsimile: 213.375.3811
    5
        Attorneys for Defendant
    6   DEADLY DOLL, INC..
    7
                            UNITED STATES DISTRICT COURT
    8
                          CENTRAL DISTRICT OF CALIFORNIA
    9
   10 CARLOS VILA,                            Case No. 2:21-CV-05837-ODW-MRW
   11              Plaintiff,
                                              DEFENDANT AND
   12        v.                               COUNTERCLAIMANT DEADLY
                                              DOLL, INC’S OPPOSITION TO
   13 DEADLY DOLL, INC.,
                                              MOTION FOR JUDGMENT ON
   14              Defendant.                 THE PLEADINGS
   15
                                              Date: April 11, 2022
   16                                         Time: 1:30 p.m.
                                              Courtroom: 5D
   17
   18                                         (The Hon. Otis D. Wright, II)
   19                                         Complaint filed July 20, 2021
        DEADLY DOLL, INC.
   20
                   Counterclaim Plaintiff,
   21
             v.
   22
        CARLOS VILA,
   23
                   Counterclaim Defendant.
   24
   25
   26
   27
   28

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    1                MEMORANDUM OF POINTS AND AUTHORITIES
    2 I.       INTRODUCTION.
    3          Plaintiff and Counter-Defendant Vila (“Vila”) moves to invalidate
    4 Defendants’ copyright registration and dismiss Defendants’ counterclaim based on a
    5 typographical error in the registration. He argues that his copying of Defendants’
    6 copyrighted work must be fair use as a matter of law because his copyright is the
    7 only one that matters. Vila’s arguments lack merit and his motion should be denied
    8 for the reasons described below.
    9 II.      VILA’s COMPLAINT, DD’S ANSWER AND COUNTERCLAIM, AND
   10          VILA’S ANSWER.
   11          This action began when Vila filed suit claiming that Defendant and
   12 counterclaimant Deadly Doll, Inc. (“DD”) infringed his copyright in a photograph of
   13 Irena Shayk wearing an item of DD clothing. Vila alleges that DD infringed his
   14 rights when it briefly posted that image, with Irena Shayk’s permission, on its
   15 Instagram page. (Dkt. No. 1, ¶¶ 21-22.)1
   16
   17   1
         This case is one of about 20 similar cases Vila has filed in the last several years,
   18   most of which settled shortly after filing. See the Court Dockets in Vila v. Laval
        Official LLC, Case No. 1:19-CV-06154 (S.D.N.Y.) filed July 1, 2019; Vila v
   19   UpscaleHype, LLC., Case No. 4:19-CV-01995 (S.D. Tex.) filed 06/03/2019; Vila v.
   20   Alison Lou LLC, Case No. 1:19-CV-06634 (S.D.N.Y.) filed July 16, 2019 Vila v.
        Robert & Fraud, Inc., Case No. 1:19-CV-06772 (S.D.N.Y.), filed July 19, 2019);
   21   Vila v. Monse LLC, Case No. 1:19-CV-07078 (S.D.N.Y) filed July 30 2019); Vila v.
   22   Lymi Inc., Cas No. 1:19-CV-08171 (S.D.N.Y. September 1, 2019); Vila v. Vice
        Media LLC, Case No. 1:19-CV-05332 (S.D.N.Y), filed 9/18/2019; Vila v. Staud,
   23   Inc., Case No. 1:19-CV-09119 (S.D.N.Y.), filed October 2, 2019; Vila v. Indigoods
   24   LLC,. Case No. 1:19-CV-09121 (S.D.N.Y.) filed October 2, 2019; Vila v. Fenty
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   25   USA Inc., Case No. 1:20-CV-00046 (S.D.N.Y January 3, 2020; Vila v. Mango USA,
   26   Inc., Case No. 1:20-CV-00064 (E.D.N.Y.) filed January 3, 2020); Vila v. J Brand,
        Inc., Case No. 1:20-CV-02107 (S.D.N.Y.) filed March 9, 2020;Vila v. Miaouxx,
   27   LLC, Case No. 1:20-CV-02401 (S.D.N.Y.) filed March 18, 2020; Vila v. Loewe
   28   LLC, Case No. 1:20-CV-04149 (S.D.N.Y.) filed May 29, 2020; Vila v. Nice Kicks

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    1         However, Vila’s complaint does not mention that the photograph he claims
    2 DD infringed prominently depicts a preexisting image whose copyright is owned by
    3 DD, on the DD clothing Irena Shayk was wearing. Vila never sought or obtained
    4 permission from DD (or, DD is informed and believes, Irena Shayk) to copy and
    5 post the photo bearing her likeness and DD’s copyrighted image on Vila’s website.
    6 DD answered Vila’s complaint raising, inter alia, affirmative defenses that Vila’s
    7 copyright is invalid as an unauthorized derivative work, and that DD’s reproduction
    8 of Vila’s image displaying DD’s copyrighted work with Irena Shayk’s permission
    9 was fair use. (Dkt. No. 14, ¶¶ 6-10.)
   10         DD also counterclaimed for declaratory relief that Vila’s copyright is invalid
   11 as an unauthorized derivative work, and it alleges that Vila infringed DD’s
   12 copyright when he reproduced DD’s underlying copyrighted image in his
   13 photograph which, without irony, he claims DD infringed. (Dkt. No. 15, ¶¶ 1, 6-19.)
   14         As stated in its counterclaim, DD manufactures and sells cutting edge
   15 clothing that is beloved by fashion forward celebrity fans such as Irina Shayk. One
   16 of the recurring motifs in DD’s clothing is its use of distinctive, original artwork,
   17 song lyrics, and other graphics that often are prominently displayed on its clothing.
   18 (Dkt. No. 15, ¶ 6.)
   19         Among the graphic images DD uses on its clothing is a cartoon-style work
   20 depicting a “Pin-up” girl holding a skull in her left hand. DD created that artwork in
   21 2018, and first published it in late 2019. (Dkt. No. 15, ¶ 7.) It is the image Vila
   22
   23
   24
   25 Holdings, LLC, Case No. 1:21-CV-00037 (W.D. Tex..) filed January 12, 2021: Vila
      v. Brixton, LLC., Case No. 3:21-CV-01132 (S.D.N.Y.) filed June 18, 2021; Vila v.
   26 Nili Lotan, Inc., Case No. 1:22-CV-00712 (S.D.N/Y.) filed January 27, 2022; and
   27 Vila v. LYMI Inc., Case No. 2:22-CV-01346 (C.D.Cal.) filed February 28, 2022).
      DD respectfully asks the Court to take judicial notice of those filings and
   28 dispositions.
                                                2
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    1 reproduced without permission. That artwork has been registered for copyright by
    2 DD with the U.S. Copyright Office,2 and is shown below:
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   11 (Dkt. No.15, ¶ 8.)
   12       Vila’s photograph prominently displays virtually all DD’s copyrighted “Pin-
   13 up” girl from DD’s copyrighted image without DD’s consent as shown below:
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   23     There are different creation and publication dates in DD’s copyright registration,
        but they do not require amendment to the counterclaim because the dates stated in
   24   the counterclaim are correct. DD discovered it inadvertently provided inaccurate
   25   dates in its copyright application after it filed it but before it filed its counterclaims
        herein. It was able to submit correct dates in its counterclaim herein, and
   26   immediately filed a supplementary registration application to correct the inaccurate
   27   dates in the registration. (Lee Decl. and Ex. 1.) An amended registration has not yet
        issued, but the inaccurate dates in the original registration do not affect its validity
   28   as shown in Section IV below.
                                                      3
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    15 (Dkt. No. 15, ¶ 9.)
    16        Vila applied for and obtained a copyright registration in the above image with
    17 DD’s image, and he has posted it online to license or attempt to license it to both
    18 online and print publications. (Dkt. No. 15, ¶¶ 10-11.)
    19        DD contends that there is a justiciable controversy whether Vila’s photograph
    20 is an unenforceable derivative work, and seeks declaratory relief on that basis. (Dkt.
    21 No. 15, ¶13.) DD also alleges that Vila infringed DD’s copyright in its “Pin-up
    22 Girl” image when, without DD’s permission, he copied it in his photograph and
    23 posted the photograph in his online portfolio of images he offers to license to others.
    24 (Dkt. No. 15, ¶¶ 11, 17-19.)
    25        Vila filed an answer to DD’s counterclaim in which, inter alia, he pleads a
    26 “fair use” affirmative defense. (Dkt. No. 23, ¶ 26.) He now moves for judgment on
    27 the pleadings to dismiss DD’s counterclaim pursuant to Fed. R. Civ. Proc. 12(c) on
    28 that and other bases. (Dkt. No. 30.)
                                                  4
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     1         “Judgment on the pleadings is proper [only] when the moving party clearly
     2 establishes on the face of the pleadings that no material issue of fact remains to be
     3 resolved and that it is entitled to judgment as a matter of law.” Hal Roach Studios,
     4 Inc. v. Richard Feiner & Co., 896 F.2d 1542, 1550 (9th Cir.1990). Vila’s motion
     5 fails under this standard as described below.
     6 III.    VILA’S ARGUMENT THAT HIS IMAGE IS NOT A DERIVATIVE
               WORK AS A MATTER OF LAW SHOULD BE REJECTED.
     7
     8         Vila’s argument that DD’s declaratory relief counterclaim must be dismissed
     9 because his photograph containing DD’s copyrighted visual art is not a “derivative
    10 work” as a matter of law (Mot. 6-8) lacks merit for a number of reasons.
    11         First, Vila’s incorporation into his photograph of virtually all of DD’s
    12 copyrighted “Pin-up” girl in its copyrighted image means his photograph qualifies
    13 as a “derivative work” under the Copyright Act. “A ‘derivative work’ is a work
    14 based upon one or more preexisting works…such as a[n] …art reproduction…or
    15 any other form in which a work may be recast, transformed or adapted.” 17 U.S.C.
    16 §101(definition of “derivative work”). Including some or all of a separate
    17 copyrighted work in or as an element of a subsequent work can make the subsequent
    18 work a derivative of the underlying work under that definition. See 17 U.S.C.
    19 §101(definition of “derivative work”); Gaylord v. U.S., 777 F.3d 1363, 1370 (Fed.
    20 Cir. 2015) (including artwork on t-shirts made the t-shirts “derivative works
    21 incorporating” the underlying artwork); United Feature Syndicate, Inc. v. Koons,
    22 817 F. Supp. 370, 382 (S.D.N.Y. 1993) (artist licensed artwork for use in “T-shirts,
    23 calendars and other derivative works”). Here, DD’s counterclaim states facts which
    24 show that Vila reproduced and incorporated the heart of DD’s copyrighted “Pin-up”
    25 girl image into Vila’s photograph, conduct which satisfies that legal definition.
    26 Vila’s motion should be denied for this reason alone.
    27        Second, whether Vila incorporated enough of DD’s “Pin-up” girl image to
    28 qualify as a derivative work is a question of fact that should not be resolved on this
                                                   5
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     1 motion for judgment on the pleadings. “The Ninth Circuit Court of Appeals has held
     2 that in order to establish the existence of an infringing derivative work, a plaintiff
     3 must show that the defendant's work substantially incorporated protected materials
     4 from the plaintiff's preexisting work.” Tiffany Design, Inc. v. Reno-Tahoe Specialty,
     5 Inc., 55 F. Supp. 2d 1113, 1122 (D. Nev. 1999), citing Allen v. Academic Games
     6 League of America, Inc., 89 F.3d 614, 617 (9th Cir.1996).
     7         On motion for partial summary judgment, Tiffany held that plaintiff’s
     8 scanning of preexisting photographs to remove images from them that plaintiff
     9 incorporated into plaintiff’s own subsequent photographs was copyright
    10 infringement as a matter of law. 55 F. Supp. 2d 1113. However, it declined to also
    11 grant partial summary judgment that plaintiff’s subsequent photographs were
    12 infringing derivative works, because “whether Defendant used a sufficient amount
    13 of recognizable elements from the 1998 Image to constitute …an infringing
    14 derivative work… is a question of fact that should be decided during trial.” Id.
    15         DD believes Vila’s copying of virtually the entirety of the “Pin-up” girl
    16 depicted in DD’s copyrighted work strongly favors a finding that Vila’s photograph
    17 is a derivative work under the statute, and thus at least creates a material question of
    18 fact that precludes judgement on the pleadings for Vila (and may support summary
    19 judgment for DD after discovery is conducted.) Nevertheless, the factual nature of
    20 that “derivative work” determination means it should not be decided on this Rule
    21 12(c) motion.
    22         Third, Vila’s citation to Ets-Hokin v. Skyy Spirits, Inc., 225 F.3d 1068, 1078
    23 (9th Cir. 2000) (Mot. 7) does not support his motion, and in fact affirmatively
    24 supports DD’s counterclaim. ETS-Hokin held that the photograph it considered was
    25 not a derivative work, but only because the underlying “work” the photograph
    26 incorporated was an uncopyrightable utilitarian object, namely, a vodka bottle. Id.
    27         Here, DD alleges that Vila’s photograph incorporated a copyrightable and
    28 copyrighted underlying image, namely an image of a cartoon-style “Pin-up” girl.
                                                   6
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     1 Such visual art easily qualifies for copyright protection. See 17 U.S.C. §101
     2 (definition of protectable “graphic works” includes “art reproduction”). Further,
     3 DD’s copyright registration is entitled to a presumption of validity that cannot be
     4 resolved on this motion. 17 U.S.C. § 410(c)(establishing a presumption of validity
     5 for registered works); United Fabrics Intern., Inc. v. C&J Wear, Inc., 630 F.3d
     6 1255, 1257-58 (9th Cir. 2011); Lamps Plus, Inc. v. Seattle Lighting Fixture Co., 345
     7 F.3d 1140, 1144 (9th Cir. 2003); Ticketmaster L.L.C. v. Prestige Entertainment
     8 West, Inc., 315 F.Supp.3d 1147, 1161 (C.D. Cal. 2018); Classical Silk, Inc. v. Dolan
     9 Group, Inc., 2016 WL 7638113 (C.D. Cal. February 2, 2016).
    10         The fact that DD’s image is affixed to its clothing does not affect the image’s
    11 protectability. DD’s visual art is conceptually separable from the “useful article” to
    12 which it is affixed, and copyright law has long protected conceptually separable
    13 visual art affixed to useful articles. See 17 U.S.C. § 101 (definition of “”pictorial
    14 and graphic works” includes conceptually separate artistic elements on useful
    15 articles); Star Athletica, L.L.C. V. Varsity Brands, Inc., --U.S.--, 137 S. Ct. 1002,
    16 1008 (2017) (“a “pictorial, graphic, or sculptural featur[e]” incorporated into the
    17 “design of a useful article” is eligible for copyright protection if it (1) ‘can be
    18 identified separately from,’ and (2) is ‘capable of existing independently of, the
    19 utilitarian aspects of the article””), 137 S. Ct. at 110, quoting 17 U.S.C.
    20 §101(definition of “Pictorial, graphic and sculptural works”); Leicester v. Warner
    21 Bros., 232 F.3d 1212, 1219 (9th Cir.2000) (courts have traditionally afforded
    22 copyright protection to pictorial, graphic and sculptural works incorporated within a
    23 useful article).
    24         Since Vila’s photograph incorporated DD’s conceptually separable,
    25 copyrightable and copyrighted “Pin-up” Girl into Vila’s photograph, Vila’s
    26 photograph qualifies as a derivative work under Ets-Hokin v. Skyy Spirits, Inc. See
    27 Michael Grecco Productions, Inc. v. Livingly Media, Inc., 2021 WL 2546749, *5
    28 (C.D. Cal. April 16, 2021(“the Court agrees the Photographs are derivative [under
                                                    7
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     1 ETS-Hokin] because they are based on copyrighted work-The underlying television
     2 show[,]” but finds they were not infringing because authorized).
     3         Here, since Vila’s use of DD’s “Pin-up” girl in his photograph was
     4 unauthorized, it infringes DD’s copyright and is not eligible for independent
     5 copyright protection under the law of the Ninth Circuit and other courts. DC Comics
     6 v. Towle, 802 F.3d 1012 (9th Cir. 2015) (defendants’ creation of a three-dimensional
     7 model of the “Batmobile” from “Batman” comics was an infringing and
     8 unauthorized derivative work); TMTV Corp. v. Mass Productions, Inc., 645 F.3d
     9 464 (1st Cir. 2011) (defendants liable for copyright infringement because their
    10 television program was an unauthorized derivative of Plaintiff’s underlying work);
    11 Anderson v. Stallone, 1989 WL 206431 at *8 (C.D. Cal. April 26, 1989)
    12 (unauthorized “Rocky” screenplay an unauthorized derivative work not entitled to
    13 copyright protection).
    14         Thus, Vila’s incorporation into his photograph of DD’s copyrighted “Pin-up”
    15 girl at least states a justiciable claim that must be resolved by a fact finder. Vila’s
    16 motion for judgment on the pleadings on this basis must be denied.
    17 IV.     DD’S COPYRIGHT REGISTRATION SHOULD NOT BE
               INVALIDATED OR ITS COUNTERCLAIM DISMISSED FOR A
    18
               TYPOGRAPHICAL ERROR.
    19
               Vila’s argument that a factual discrepancy on two dates in DD’s counterclaim
    20
         and copyright registration invalidates DD’s copyright registration and requires
    21
         dismissal DD’s counterclaim (Mot. 13) should be rejected for a number of reasons.
    22
               First, Vila cites no case law to support these propositions, because there is
    23
         none and the arguments are intuitively frivolous.
    24
               Second, the arguments are refuted by all relevant case law that addresses
    25
         these issues. An inadvertent error in a copyright application cannot invalidate a
    26
         copyright registration, because the Copyright Act prohibits invalidation of a
    27
         copyright registration based on them. Under 17 U.S.C. §411(b)(1), errors in an
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     1 application do not invalidate a registration unless “the inaccurate information was
     2 included on the application…with knowledge that it was inaccurate…” Further, the
     3 Supreme Court, Ninth Circuit and other case law interpreting that statute uniformly
     4 hold that errors that are not fraudulent do not invalidate a registration as a matter of
     5 law.
     6         Indeed, the Supreme Court recently held that under this statute even
     7 intentional factual misstatements in an application do not invalidate the resulting
     8 registration unless the applicant knew that it would do so when it filed the
     9 application. Unicolors, Inc v. H&M Hennes & Mauritz, --U.S.--, 2022 WL 547681
    10 (February 24, 2022) (registrant’s lack of legal understanding about the import of
    11 factually inaccurate information it knowingly provided in an application meant it
    12 qualified for the “safe harbor” protection of §411(b)(1)(A), and the registration at
    13 issue was therefore valid).
    14         This recent Supreme Court decision arguably goes further than earlier Ninth
    15 Circuit and other authority that limited invalidation of registrations to instances of
    16 fraud on the Copyright Office. See Gold Value Int'l Textile, Inc. v. Sanctuary
    17 Clothing, LLC, 925 F.3d 1140, 1146 (9th Cir. 2019) (internal citation and quotation
    18 marks omitted) (for a copyright inaccuracy to invalidate a copyright registration,
    19 “the inaccurate information must have been included in the application ... with
    20 knowledge that it was inaccurate and [that] the inaccuracy of the information, if
    21 known, would have caused the Register of Copyrights to refuse
    22 registration”); United Fabrics Intern., v. C&J Wear, Inc., 630 F.3d 1255, 1259 (9th
    23 Cir. 2011) (failure to identify a work as derivative did not invalidate the copyright
    24 registration because no intent to defraud the Copyright Office); Sony Music
    25 Entertainment v. Cox Communications, Inc., 426 F. Supp 3d 217 (E. D. Va. 2019)
    26 (plaintiff granted summary judgment on copyright ownership based on the statutory
    27 presumption of validity in the registration despite erroneous “work for hire”
    28 designation because defendant did not meet its burden of proving that the alleged
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     1 errors were material or that plaintiff knew they were false when made).
     2          Here, DD’s counterclaim does not allege that DD knowingly made factual
     3 misstatements in its registration that it knew would invalidate the resulting
     4 registration (because, in fact, DD did not do so). DD’s pleadings certainly do not
     5 establish that DD knowingly filed false information in a copyright application it
     6 knew would invalidate the registration as a matter of law.3 Since his Rule 12(c)
     7 motion must be based on DD’s pleadings, Vila’s motion to invalidate DD’s
     8 copyright registration on this basis must be denied in these circumstances.
     9          Nor would a typographical error in a pleading (which is not present here)
    10 support a motion to dismiss it. Courts in this circuit have repeatedly denied motions
    11 made on this basis, and have threatened Rule 11 sanctions against litigants who seek
    12 dismissal of actions based typographical errors. See, e.g., United States v.
    13 Mazariegos, 2020 WL 5517308 (N.D. Cal. 09/14/2020) (typographical error does
    14 not support dismissal of criminal indictment); Rivers v. Skate Warehouse, LLC,
    15 2013 WL 12128800, *8 (C.D. Cal. April 15, 2013 ) (“A single typographical error
    16 does not require dismissal of an otherwise adequately pled claim”); Albritton v.
    17 Tiffany & Bosco, P.A., 2013 WL 12153571,*3 (D. Arizona April 23, 2013) (court
    18 finds plaintiff’s notice of defendant’s typographical error and motion to strike based
    19 on it frivolous, and warns that “any further violations of Rule 11…will result in
    20 dismissal of this case…”)
    21          DD has repeatedly advised Vila that the different creation and publication
    22 dates in its counterclaim and copyright registration were due to an inadvertent
    23 typographical error for months, only to face repeated claims from Vila that DD had
    24 no valid registration or counterclaim on this basis. (Lee Decl. ¶    .) DD does not
    25 know why DD finally decided to waste the Court’s time with motion. based on such
    26
         3
    27   And in fact, the different dates would not invalidate the registration as a matter of
       law because even if inaccurate, the registration would be valid with earlier dates
    28 stated in the counterclaim.
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     1 a frivolous ground. Regardless, Vila’s decision to file this motion and make such
     2 arguments does not support dismissal of DD’s counterclaims, and his motion should
     3 be denied.
     4   V.    VILA’S ARGUMENT THAT HIS USE OF DD’S COPYRIGHTED
               PIN-UP GIRL IMAGE IS “FAIR” AS A MATTER OF LAW SHOULD
     5
               BE REJECTED.
     6
               Vila’s argument that DD’s declaratory relief and copyright infringement
     7
         counterclaims against him must be dismissed because his copying of DD’s “Pin-up”
     8
         girl image is fair use as a matter of law (Mot. 14-16) lacks merit for a number of
     9
         reasons.
    10
               First, Vila raises fair use as a “sword” to vest copyright in what DD’s answer
    11
         and counterclaim allege is an unauthorized derivative work, and he should not be
    12
         permitted to use the fair use defense in that manner. Sobhani v. @Radical Media
    13
         Incl., 257 F.Supp. 2d 1234, 1239 (C.D. Cal, 2003) (court rejects plaintiff’s assertion
    14
         of “fair use” to validate the copyright in his unauthorized derivative work to support
    15
         a copyright infringement claim against defendant: “Plaintiff seeks to use Section
    16
         107 as a ‘sword’ in order to vest copyright in an unauthorized derivative work…it is
    17
         relatively clear that Congress did not contemplate such.”)
    18
               Second, Vila’s fair use arguments are not properly raised on this motion
    19
         because fair use is a mixed question of law and fact that is not generally resolvable
    20
         by motions to dismiss or for judgment on the pleadings. SOFA Entm't, Inc. v.
    21
         Dodget Productions, Inc., 709 F.3d 1273, 1277 (9th Cir. 2013) (fair use a mixed
    22
         question of law and fact);. Browne v. McCain, 612 F. Supp. 2d 1125, 1130 (C.D.
    23
         Cal. 2009) (court denies Rule 12(b)(6) motion to dismiss copyright infringement
    24
         claim made on fair us grounds because “[c]ourts analyze fair use as a mixed
    25
         question of law and fact” and “rarely analyze fair use on a 12(b)(6) motion”); Solid
    26
         Oak Sketches, LLC v. 2K Games, Inc., 2018 WL 16261458 *4, *5 (S.D.N.Y. March
    27
         30, 2018) (Rule 12(c) “fair use” motion for judgment on the pleadings for
    28
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     1 Defendant’s use of copyrighted tattoos on a character in a video game denied
     2 because “[t]he Court is…unable to conclude without the aid of extrinsic evidence
     3 that no reasonable jury, properly instructed, could find” there was de minimis
     4 copying or fair use of the copyrighted tattoos.)
     5         Third, fair use should not be decided based on DD’s pleadings because DD’s
     6 counterclaim need not plead facts that refute it. Peterman v. Republican National
     7 Committee, 320 F. Supp. 3d 1151, 1157 (D. Mont. 2018) (motion to dismiss
     8 copyright infringement claim on fair use grounds denied because, inter alia, “it is
     9 not necessary to plead facts that disprove fair use to survive a Rule 12(b)(6) motion
    10 to dismiss”); Gamer v. Higgins, 2015 WL 574352, *3 (W.D. Va. Feb. 11, 2015)
    11 (fair use motion to dismiss under Rule 12(b)(6) denied because “[Plaintiff] Gamer
    12 need not plead facts in her complaint that disprove fair use in order to survive a
    13 motion to dismiss”) (emphasis in original); William F. Patry, Patry on Fair Use
    14 §7:5 (“it is not necessary to plead facts that disprove fair use in order to survive a
    15 motion to dismiss, any more than it is necessary to plead facts disproving any other
    16 affirmative defense…”) The absence of facts disproving fair use in DD’s pleading
    17 therefore cannot support Vila’s motion for judgment on the pleadings
    18         Fourth, although DD need not plead them, facts weighing against fair use are
    19 already stated in the counterclaim, and they support denial of Vila’s “fair use”
    20 motion on the merits. 17 U.S.C. §107 codifies pre-exiting case law to articulate four
    21 factors courts should weigh to evaluate a fair use affirmative defense, and those
    22 factors weigh against a fair use determination here. They are:
    23         (1) The “purpose and character” of Vila’s use- Commercial uses tend to
    24            weigh against fair use determination more than non-profit, educational
    25            uses do, and since DD alleges Vila copied its “Pin-up” girl for commercial
    26            purposes, this factor weighs against fair use. “Transformative” uses can
    27            favor fair use even when commercial in nature, but as shown below, Vila’s
    28            use of “DD’s copyrighted image was not transformative because it merely
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     1            reproduced DD’s “Pin-up” girl on clothing as DD presented it.
     2         (2) The “nature of the copyrighted work” Vila copied- DD’s cartoon-like
     3            “Pin-up” girl visual art is close to the core of protected copyrightable
     4            expression, and thus Vila’s copying of it weighs against fair use.
     5         (3) The “amount and substantiality of the portion used” by Vila- Vila copied
     6            virtually the entirety of DD’s “Pin-up Girl” image, which obviously is the
     7            heart of DD’s copyrighted work. His copying thus is both qualitatively and
     8            quantitatively significant. This factor also weighs against fair use.
     9         (4) The effect of the use upon the potential market” for DD’s copyrighted
    10            image-Although DD alleges that Vila is making commercial use of DD’s
    11            visual art to its damage as described above, its counterclaim does not
    12            include allegations on the effect of Vila’s copying on the original or
    13            derivative market for DD’s image. Thus, this factor is, at most, neutral.
    14 17 U.S.C. §107; Dr. Seuss Enters., L.P. v. ComicMix LLC, 983 F.3d 443 (9th Cir.
    15 2020) (discussing at length how fair use applies under §107, and concluding in the
    16 summary judgment setting that defendants’ use of elements from a children’s book
    17 in a “mashup” with Star Trek was not fair use.) Thus, since at least three of the four
    18 “fair use” factors weigh against fair use as shown above, a jury could find no fair
    19 use here, and this Court should not rule otherwise as a matter of law on this motion.
    20         Courts have repeatedly rejected fair uses defenses when one copyrighted
    21 work takes and uses some or all of another’s underlying visual art without
    22 permission in analogous factual settings, because, as the Supreme Court has made
    23 clear, “[t]he fair use doctrine is not a license for corporate [or individual] theft…”
    24 Harper & Row Publisher, Inc. v. Nation Enterprises, 471 U.S. 539, 558, 185 S. Ct.
    25 2218(1985) The decisions below all rejected arguments similar to Vila’s and,
    26 evaluating the above factors, they evaluated the taking in a manner similar to that
    27 set forth above and ruled against fair use.
    28         For example, in what may be the most obviously analogous case, Alexander v.
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     1 Take-Two Interactive Software, Inc., 489 F. Supp. 3d 812 (S.D. Ill. 2020), held on
     2 summary judgment that a video game’s depiction of a wrestler with tattoos the real
     3 wrestler actually wore infringed a tattoo artist’s copyright in the tattoos, even though
     4 the depictions were licensed by the wrestler. The court rejected the video game
     5 producers’ fair use arguments, similar to those Vila makes here, that there was fair
     6 use as a matter of law because its reproduction of the tattoo images in the video
     7 game was transformative, the tattoos were only entitled to minimal copyright
     8 protection, only a minor part of the original works were copied and briefly visible in
     9 the video game, and there was no harm to the potential market for derivative and
    10 licensing rights in the tattoos. 489 F. Supp. 3d at 821-23.
    11         A series of decisions from the Second Circuit Court of Appeals involving the
    12 incorporation of elements from a prior work of visual art into a subsequent one also
    13 counsel against a fair use determination here. Most recently, Andy Warhol
    14 Foundation for the Visual Arts, Inc., v. Goldsmith, 992 F. 3d 99 (2d Cir. 2021),
    15 reversed summary judgment for Andy Warhol and ruled that his use of an
    16 underlying copyrighted photograph to create 15 different images of the musical
    17 artist “Prince” was not a fair use, because the images Warhol created were used for
    18 commercial and non-transformative purposes, the underlying work was close to the
    19 core of protectable expression, he took a substantial part of the underlying work, and
    20 other factors weighed against a fair use determination.
    21         Ringgold v. Black Entertainment Television, Inc., 126 F. 3d 70 (2d Cir. 1997),
    22 reversed a fair use determination by a trial court on summary judgment and held that
    23 a television program’s use of plaintiff’s visual art, which was only visible in the
    24 background of a few scenes of a 30-minute television program for less than 30
    25 seconds, could infringe the visual artist’s copyright in her underlying works and not
    26 be fair use, because there were triable issues of fact on the relevant fair use factors.
    27         Rogers v. Koons, 960 F. 2d 301 (2d Cir. 1992), rejected postmodern artist
    28 Jeff Koons’ argument that he had a “fair use” right to use a photograph of puppies to
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     1 create his three-dimensional sculpture “String of Puppies” because his use was
     2 “fair” under relevant factors, affirming a trial court’s summary judgment that none
     3 of the fair use factors favored a fair use determination.
     4         Finally, a court in this distruct in Sobhani v. @Radical.Media Inc., 257 F.
     5 Supp. 3d 1234,1239, fn. 4 (C.D. Cal. 2003), after rejecting a plaintiff’s effort to
     6 improperly use fair use as a “sword” to vest copyright in an unauthorized derivative
     7 work, opined that plaintiff’s taking of elements from the defendant’s preexisting
     8 commercials to create new “demo” commercials was probably not fair use, because:
     9               “[I]t is questionable whether Plaintiff would have the benefit of
    10         the fair use defense. Plaintiff's use of [Defendants’] copyrighted
    11         material to produce a commercial portfolio is wholly unlike the uses
    12         specifically contemplated in Section 107, such as criticism, news
    13         reporting and teaching. See 17 U.S.C. § 107. Moreover, the Court
    14         notes, without deciding, that it does not appear fair use would be
    15         warranted under the four factors prescribed by the statute.”
    16 Sobhani, 257 F. Supp. 3d at 1239, fn. 4
    17         Taken together, the above cited decisions at least show that fair use should
    18 not be found as a matter of law on this motion, because a reasonable fact finder
    19 could determine that Vila’s use is not “fair” under relevant factors.
    20         More fundamentally, they show that, contrary to Vila’s apparent belief, his
    21 copyright is not the only one that matters. A paparazzo photographer like Vila, like
    22 video game maker Take-Two Interactive Software, artist Andy Warhol, television
    23 producer Black Entertainment Television, or sculptor Jeff Koons, cannot simply
    24 disregard others’ copyrights when creating their own works because it is
    25 inconvenient to respect them. Vila’s inclusion of DD’s copyrighted work in his
    26 photograph does not make it “fair” as a matter of law, and this Court should deny
    27 Vila’s motion arguing that it is as a matter of law.
    28
                                                  15
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     1 VI.   CONCLUSION
     2       Vila’s motion should be denied for all the reasons described above.
     3
     4 Dated: March 21, 2022
     5                                             RIMON, P.C.

     6
                                             By:
     7                                             /s/ Mark S. Lee
                                                   Mark S. Lee
     8
     9                                             Attorneys for Defendant
                                                   DEADLY DOLL, INC.
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